Case 3:21-cr-00004-TCB-RGV Document 4-4 Filed 03/12/21 Page 1 of 3

Page | of 3 Pages
AO 199A (as modified by the District of Idaho - Rev. | 1/20) Order Setting Conditions of Release

 

UNITED STATES DISTRICT COURT

 

for the
District of Idaho
United States of America )
v. )
) Case No. 0976 1:21-00451M-001
Robert Purbeck )
Defendant )

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed by U.S. Probation to
serve a sentence that the court may impose.

The defendant must appear at: as directed.

 

Place

 

on

 

Date and Time
If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
Case 3:21-cr-00004-TCB-RGV Document 4-4 Filed 03/12/21 Page 2 of 3

Page 2 of 3 Pages

AO 199B (as modified by the District of Idaho - Rev. 11/20) Additional Conditions of Release

 

DEFENDANT: Robert Purbeck

19.

ADDITIONAL CONDITIONS OF RELEASE

The defendant must submit to supervision by and report for supervision to Pretrial Services as directed.
The defendant must not obtain a passport or other international travel document.

The defendant must abide by the following restrictions on personal association, residence or travel. The defendant’s travel
Shall be restricted to: the District of Idaho and the Northern District of Georgia for court purposes, and as approved by pretrial
services.

The defendant must avoid all contact, directly or indirectly, with any person who is known to be a victim or witness in the
investigation or prosecution.

The defendant must not possess a firearm, destructive device, or other weapon.

The defendant must not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 § 802, unless
prescribed by a licensed medical practitioner. The defendant must not use or unlawfully possess drug paraphernalia.

The defendant must report as soon as possible to the Pretrial Services officer or supervising officer, every contact with law
enforcement personnel, including arrests, questioning, or traffic stops.

The defendant must maintain current residence and shall not move or change residences without prior approval of the Pretrial
Services officer.

The defendant shall have no contact with any persons known to be engaged in criminal activity, or who are using or
possessing any controlled substances.

The defendant shall not possess or use a device with internet access, or access the internet, without the prior permission from
the Pretrial Services officer.

The defendant must adhere to and comply with all federal, state, and local laws, orders, rules, and the like regarding social
distancing and self-isolation and protocols regarding COVID-19 including, but not limited to, Idaho’s Reopening Plan and the
orders of the court.

The defendant shall submit his or her person, property, house, residence, vehicle, papers, computers (as defined in 18 §
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by a United
States probation officer. The defendant shall warn any other occupants that the premises may be subject to searches pursuant
to this condition.

The defendant may not possess or use a computer (as defined in 18 § 1030(e)(1)) without prior permission from the probation
officer.

The defendant shall comply with the requirements of the United States Probation Computer Monitoring Program as directed.
The defendant shall consent to the United States Probation Office conducting ongoing monitoring of his computer(s),
hardware, software, and other electronic devices/ media. The monitoring may include the installation, at the defendant’s
expense, of hardware or software systems which allows evaluation of his computer use. Monitoring may also include the
retrieval and copying of data from his computer or other electronic devices/ media. Monitoring may occur at any time with or
without reasonable suspicion of violations of supervision. The United States PO shall coordinate with defense counsel and
counsel for the government to create an agreed upon list of internet use limited to communications between defendant and his
counsel and such related use as is necessary for defendant to assist in his defense. Any of the monitoring described in this
paragraph shall not include the search of any communication or any other internet use that falls within the above-referenced
list.
Case 3:21-cr-00004-TCB-RGV Document 4-4 Filed 03/12/21 Page 3 of 3

Page 3 of 3 Pages
AO 199C (as modified by the District of Idaho - Rev. | 1/20) Advice of Penalties

 

DEFENDANT: Robert Purbeck

ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES.AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten
years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will
be consecutive (i.¢., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation
are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I acknowledge that | am the defendant in this case and that | am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set

forth above. of jel

Defendant's Signature

Poise + Daho

Cip and State
Directions to the United States Marshal

( M1) The defendant is ORDERED released after processing.

(QO) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified.

Date: March 3, 2021 Lmats 4 Auwe—

Judicial Officer's Signature

Ronald E. Bush, Chief United States Magistrate Judge

 

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL
